                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

In re:

LAS CRUCES COUNTRY CLUB, INC.                                            Case No. 16-12947-j7
a New Mexico Non-Profit Corporation                                      Chapter 7

         Debtor.

          CHAPTER 7 TRUSTEE’S SECOND MOTION TO APPROVE SALE OF
             ALL ASSETS OF THE BANKRUPTCY ESTATE FREE AND
                   CLEAR OF LIENS, CLAIMS, OR INTERESTS

         Philip J. Montoya, the Chapter 7 Trustee of the above-captioned estate (“Trustee”),

pursuant to Bankruptcy Code §§ 363(f) and 365 and other applicable law, if any, moves the Court

to approve the sale of all of the estate’s assets, specifically including, but not limited to that certain

Limited Recourse Promissory Note dated October 27, 2014 between Park Ridge Properties, LLLP,

a New Mexico limited liability partnership (“Park Ridge”) as Borrower, and the Debtor as Lender

(the “Note”), a Mortgage dated effective October 27, 2014 between Park Ridge as mortgagor and

the Debtor as mortgagee, recorded in records of the clerk of Dona Ana County, as Instrument No.

1422271 (the “Mortgage”), and any fraudulent transfer claims owned by the estate, to Cruces

Equity Partners, LLLP (“CEP”) on the terms set forth below, and in support hereof, states:

         1.     Background. On November 29, 2016 (the “Petition Date”), Las Cruces Country

Club, Inc., a New Mexico non-profit corporation (the “Debtor”) commenced the above-captioned

case by filing a voluntary petition for relief under Chapter 7 of the Bankruptcy Code. Philip J.

Montoya was appointed Chapter 7 Trustee in this case, and continues to serve in that capacity.

         2.     Jurisdiction and Venue. The Court has jurisdiction over this motion pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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       3.      The Note. As disclosed on Debtor’s Schedule B, the estate owns an interest in a

Limited Recourse Promissory Note, dated October 27, 2014, granted to the Debtor by Park Ridge

Properties, LLLP, a New Mexico limited liability partnership (“Park Ridge”), as borrower, in the

principal amount of $4,878,125.00, (the “Note”). The Note is secured by a Mortgage of even date,

recorded in the books and records of Dona Ana County, New Mexico, as Instrument # 1422271

(the “Mortgage”) and encumbers 76.11 acres of real property, consisting of the majority of the

former site of Las Cruces Country Club, in Las Cruces, New Mexico (the “Property”). True and

correct copies of the Note and Mortgage are attached hereto as Exhibit A.

       4.      The Fraudulent Transfer Proceeding. On October 10, 2017, the Trustee filed a

Complaint to Avoid Fraudulent Transfers, initiating Case No. 17-1084 (the “Fraudulent Transfer

Action”), alleging, inter alia, that because the Note does not require payments, or provide for

interest, until planned unit development approval from the City of Las Cruces (“PUD Approval”)

the Note and Mortgage did not constitute reasonably equivalent value for the transfer of the

Property to Park Ridge, and that the transfer should therefore be avoided. Park Ridge disputed the

allegations and has asserted that under the implied covenant of good faith and fair dealing, a

requirement to obtain PUD Approval should be read into the Note, that the time to obtain PUD

Approval has not expired, and that the Note is therefore not in default. On May 25, 2018, following

oral argument, this Court entered an Order finding that the Note had a maturity date of October

27, 2019 and dismissing the Fraudulent Transfer Action (Doc. No. 25 in Case No. 17-1084).

       5.      Proposed Sale. By this Motion, the Trustee seeks the Court’s approval to sell all of

the estate’s assets, including, without limitation, the Note, the Mortgage, any fraudulent transfer

claims of the estate, and all other assets of the estate (collectively, the “Assets”) to CEP for

$2,200,000.00 (the “Purchase Price”). In consideration of the Purchase Price, the Trustee would

endorse the Note to CEP, without recourse, and transfer all collateral documents securing the Note,



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all guaranties securing payment of the Note, and transfer all other assets of the estate to CEP. In

addition, the Trustee will withdraw his existing objection to First Valley Realty, Inc.’s claim

against the bankruptcy estate (the “FVR Claim”) and Sonoma Ranch Golf Course, LLC and

Sonoma Ranch Subdivision Ltd. Co.’s claim against the bankruptcy estate (the “Sonoma Claim”),

and file no further objection to the FVR Claim or the Sonoma Claim. The proposed sale and

purchase contemplated by the parties will close 45 days following Court approval. As set forth

therein, if the offer is accepted, but (a) the Trustee withdraws from the agreement (b) a higher or

better offer is either accepted or promoted by the Trustee, or (c) the Trustee requests an auction,

the estate will be liable to CEP for a $200,000.00 break-up fee, which shall constitute a lien

attaching to the Note and its proceeds. The FVR Claim shall be paid in full at closing of the sale,

and the money paid on such claim shall be applied to pay the Purchase Price. A true and correct

copy of the purchase agreement attached hereto as Exhibit B.

       6.      Sale Free and Clear of Liens.     Upon information and belief, there are no known

liens, claims, or interests attaching to or encumbering the Estate’s interest in the Note or Mortgage,

other than a Collateral Assignment of Promissory Note and Lien in favor of First Valley Realty,

Inc., executed on October 27, 2014, prior to the Petition Date, but not recorded until December 9,

2016, after the Petition Date (the “Assignment”). The lien of the Assignment would attach to the

proceeds of the sale with the same extent and validity it attached to the Note, up to the amount

alleged in the FVR Claim at the time of this writing, $191,943.23. The Trustee is not aware of any

additional liens, claims or encumbrances on assets of the estate. To the extent there are additional

liens, claims or interest on the Estate’s interest in the Note or Mortgage, the Trustee requests

permission to sell the Assets, pursuant to 11 U.S.C. § 363(f), free and clear of liens, claims, and

interests, and that all such liens, claims and interests attach to the proceeds of the sale with the

same validity and priority, and to the same extent, that they attach to the assets sold. Additionally,



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the Trustee seeks an order declaring Buyer to have acted in good faith, as that term is used in 11

U.S.C. § 363(m), and that Buyer shall be considered a good faith buyer of the Assets, pursuant to

11 U.S.C. § 363(m).

       7.      The Proposed Sale is fair and equitable, and is in the best interests of and beneficial

to the Debtor’s estate and the creditors. The Trustee has analyzed the value of the Assets and

believes the proposed sale to be fair and in the best interest of the estate. Due to the unusual nature

of the Note, and the lack of ay recourse on the Note and Mortgage other than the Property, the

depressed nature of the commercial real estate market, and the fact that the Note does not mature

until October 2019, with no payments due until that time, the Trustee believes that it is unlikely

that any party other than the Buyer, would be willing to purchase the Assets. The Trustee has

solicited interest from multiple distressed debt investors, and no party was willing to offer more

than the purchase price. The Purchase Price represents the highest and best price the Trustee has

obtained for the Assets, is supported by escrowed funds, is in excess of the total claims reflected

in the Claims Register, and will result in a surplus in the estate. The sale liquidates the estate and

provides immediate funds to the estate for a fair price, which is important to the estate’s creditors,

and eliminates any delay in litigating a default on the Note and any uncertainty about the value of

the collateral securing payment of the Note. Given these factors, the Trustee believes the other

terms of the sale are fair and equitable under the circumstances.

       WHEREFORE, the Trustee requests that the Court enter an order (i) approving sale of the

Estate’s interest in Assets free and clear of liens, claims, or interests, as set forth above, (ii)

determining Buyer to be a good faith purchaser under 11 U.S.C. § 363(m), (iii) and (iv) for all

other just and proper relief.




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                                                     Respectfully submitted,

                                                     ASKEW & MAZEL, LLC

                                                     By: /s/filed electronically
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                                                     Attorneys for the Chapter 7 Trustee


This certifies that on July 18, 2018 a copy of the foregoing pleading was served by the
Bankruptcy Court’s electronic filing system on all parties who have entered an appearance in this
case.

s/ filed electronically
Daniel A. White




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                                  Exhibit "A"




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                                  PURCHASE AGREEMENT

         Cruces Equity Partners, LLLP ("Buyer"), and Philip J. Montoya, Chapter 7 trustee of the
 Las Cruces Country Club, Inc. bankruptcy estate ("Seller"), subject to approval by the United
 States Bankruptcy Court for the District of New Mexico, hereby agree to an asset purchase on
 the following terms:

    1. The terms of the offer from Buyer to Seller dated May 23 , 2018 (the "May 23 Offer")
       attached hereto as Exhibit B-1 , except as specifically modified herein.
    2. The Purchase Price shall be $2.2MM cash.
    3. The FVR Claim shall be paid in full at closing of the sale, and the money paid on such
       claim shall be applied to pay the Purchase Price
    4. Buyer and Seller acknowledge that the fraudulent transfer claims asserted by Seller in Adv.
       No. 17-1084-j have been dismissed and are for that reason of no value to the Seller or the
       creditors.
    5. Seller shall file a motion seeking bankruptcy court approval ofthis agreement on or before
       Wednesday, July 18, 2018, rather than by May 31 , 2018, as stated in the May 23 Offer.

    This agreement is effective as of July 2, 2018

    Seller



     hilip J. Montoya, Chapte 7 trustee
    ofthe Las Cruces Country Club, Inc. bankruptcy estate

    Buyer




    By:
    Its:




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                                    EXHIBIT B-1




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